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 9
                              UNITED STATES DISTRICT COURT
10
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                    CR No. 2:25-CR-00181-SB

13              Plaintiff,                        I N F O R M A T I O N

14              v.                                [18 U.S.C. § 371: Conspiracy to
                                                  Operate an Illegal Money
15   JOSE SOMARRIBA,                              Transmitting Business;
                                                  18 U.S.C. § 982: Criminal
16              Defendant.                        Forfeiture]
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22        The Acting United States Attorney charges:

23                                         COUNT ONE

24                                 [18 U.S.C. § 371]

25   A.   INTRODUCTORY ALLEGATIONS

26        At times relevant to this Information:

27        1.    Defendant JOSE SOMARRIBA was a citizen of the United States

28   and resided in Los Angeles, California.
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 1        2.    Co-Conspirator 1 was a citizen of the United States and

 2   resided in Los Angeles, California and Mexico City, Mexico.

 3        3.    Co-Conspirator 2 was a citizen of the People’s Republic of

 4   China (“PRC”) and resided in the United Arab Emirates.

 5        4.    Co-Conspirator 3 was a citizen of the PRC and St. Kitts and

 6   Nevis and resided in the Kingdom of Cambodia, the United Arab

 7   Emirates, and the PRC.

 8        5.    Axis Digital Limited (“Axis Digital”) was an entity

 9   incorporated under the laws of the Commonwealth of the Bahamas on or

10   about November 30, 2021.

11        6.    “Bahamas Account #1” was an account at Deltec Bank and

12   Trust Limited (“Deltec Bank”) in the Bahamas, opened by Axis Digital

13   on or about February 25, 2022.

14        7.    B&C Commerce LLC (“B&C Commerce”) was a shell company

15   registered with the California Secretary of State on or about January

16   21, 2022, with a principal address in San Gabriel, California.

17        8.    Jimei Trading Inc. (“Jimei Trading”) was a shell company

18   registered with the California Secretary of State on or about May 15,

19   2022, with a principal address in San Gabriel, California.

20        9.    YXJ Trading Corporation (“YXJ Trading”) was a shell company

21   registered with the California Secretary of State on or about July

22   30, 2022, with a principal address in Monterey Park, California.

23        10.   YYJ Consulting Corporation (“YYJ Consulting”) was a shell

24   company registered with the California Secretary of State on or about

25   August 25, 2022, with a principal address in Monterey Park,

26   California.

27        11.   Sea Dragon Trading, LLC (“Sea Dragon Trading”) was a shell

28   company registered with the California Secretary of State on or about

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 1   September 8, 2022, with a principal address in Alhambra, California.

 2        12.   SMX Beauty Inc. (“SMX Beauty”) was a shell company

 3   registered with the California Secretary of State on or about October

 4   13, 2022, with a principal address in Monterey Park, California.

 5        13.   SMX Travel Inc. (“SMX Travel”) was a shell company

 6   registered with the California Secretary of State on or about October

 7   13, 2022, with a principal address in Monterey Park, California.

 8        14.   Sea Dragon Remodel, Inc. (“Sea Dragon Remodel”) was a shell

 9   company registered with the California Secretary of State on or about

10   October 17, 2022, with a principal address in Vernon, California.

11        15.   The virtual-currency wallet address beginning with TRteo

12   (the “TRteo Address”) was a wallet that received transfers of virtual

13   currency converted from funds in Bahamas Account #1.

14   B.   DEFINITIONS

15        16.   “Digital currency” or “virtual currency” is currency that
16   exists only in digital form; it has some of the characteristics of
17   traditional money, but it does not have a physical equivalent.
18   Cryptocurrency, a type of virtual currency, is a network-based medium
19   of value or exchange that may be used as a substitute for traditional
20   currency to buy goods or services or exchanged for traditional
21   currency or other cryptocurrencies.         USDT, or Tether, is a virtual
22   currency whose value is pegged to the U.S. dollar.
23        17.   The term “spoofed” refers to domain spoofing, a process by
24   which cybercriminals seek to persuade victims that a web address or
25   email belongs to a legitimate and generally trusted company, when in
26   fact it links the user to a fraudulent site controlled by a
27   cybercriminal.
28        18.   In “pig butchering” fraud schemes (a term derived from a

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 1   foreign-language phrase used to describe these crimes), scammers

 2   encounter victims on dating services, social media, or through

 3   unsolicited messages or calls, often masquerading as a wrong number.

 4   Scammers initiate relationships with victims and slowly gain their

 5   trust, eventually introducing the idea of making a business

 6   investment using cryptocurrency.       Victims are then directed to other

 7   members of the scheme operating fraudulent cryptocurrency investment

 8   platforms and applications, where victims are persuaded to make

 9   financial investments.      Once funds are sent to scammer-controlled

10   accounts, the investment platform often falsely shows significant

11   gains on the purported investment, and the victims are thus induced

12   to make additional investments.       Ultimately, the victims are unable

13   to withdraw or recover their money, often resulting in significant

14   losses for the victims.

15        19.   In “customer service” or “tech support” fraud schemes,

16   victims are contacted by fake customer service or technology support

17   representatives.    Scammers often pretend to represent a prominent

18   company and contact the victim to alert them to a supposed infection

19   with a computer virus or false issue with the victim’s computer or

20   other digital device.     Scammers then take a variety of actions to

21   defraud the victim, including, but not limited to, the following: (a)

22   causing the victim to provide them with remote access to the victim’s

23   digital devices to supposedly remediate the problem, (b) requesting

24   that funds be transferred to pay for assistance, and (c) advising the

25   victim to transfer money from accounts that are supposedly

26   compromised by the problem to accounts controlled by the scammer.

27   C.   OBJECT OF THE CONSPIRACY

28        20.   Beginning on an unknown date, but no later than on or about

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 1   November 2021, and continuing to in or about July 2023, in Los

 2   Angeles County, within the Central District of California, and

 3   elsewhere, defendant SOMARRIBA, with others known and unknown,

 4   knowingly conspired and agreed to commit an offense against the

 5   United States, namely, to operate an unlicensed money transmitting

 6   business, in violation of 18 U.S.C. §§ 1960(b)(1)(B) and

 7   1960(b)(1)(C).

 8   D.   THE MANNER AND MEANS OF THE CONSPIRACY

 9        21.     The object of the conspiracy was to be accomplished in
10   substance as follows:
11        Solicitation of Investment Fraud Victims
12                a.   Unindicted co-conspirators would contact victims
13   directly through unsolicited social-media interactions, telephone
14   calls and messages, and online dating services.
15                b.   Unindicted co-conspirators would gain the trust of
16   victims by establishing either professional or romantic relationships
17   with the victims.        Unindicted co-conspirators would build these
18   relationships through interstate communications, including, but not
19   limited to, electronic messages sent via end-to-end encrypted
20   applications.
21                c.   Unindicted co-conspirators would promote fraudulent
22   cryptocurrency investments to the victims after gaining the victims’
23   trust.
24                d.   Unindicted co-conspirators would establish spoofed
25   domains and websites that resembled legitimate cryptocurrency trading
26   platforms.
27                e.   In some executions of the scheme, unindicted co-
28   conspirators would fraudulently induce victims into investing in

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 1   cryptocurrency through these fraudulent and spoofed investment

 2   platforms.

 3                f.   In other executions of the scheme, unindicted co-

 4   conspirators would fraudulently induce victims into investing in

 5   cryptocurrency by sending funds via wire transfer.

 6                g.   Unindicted co-conspirators would fraudulently

 7   represent to victims that the victims’ investments were appreciating

 8   when, in fact, those funds had been converted by members of the fraud

 9   scheme.

10         Solicitation of Customer Service and Tech Support Fraud Victims

11                h.   Unindicted co-conspirators would fraudulently
12   represent to victims through interstate communications, including,
13   but not limited to, electronic messages and phone calls, that they
14   were from a customer service or technology support company.
15                i.   Unindicted co-conspirators would fraudulently induce
16   victims to send funds via wire transfer or cryptocurrency trading
17   platforms to purportedly remediate a non-existent virus or other
18   false computer-related problem.
19        Operation of Unlicensed Money Transmitting Business
20                j.   Co-conspirators would register dozens of U.S. shell
21   companies with the California Secretary of State and elsewhere,
22   including B&C Commerce, Jimei Trading, YXJ Trading, YYJ Consulting,
23   SMX Beauty, SMX Travel, Sea Dragon Trading, and Sea Dragon Remodel.
24                k.   Co-conspirators would open bank accounts in the names
25   of various shell companies.
26                l.   Co-conspirators would receive victim funds in U.S.
27   bank accounts established on behalf of shell companies and cause the
28   further transfer of victim funds to domestic and international bank

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 1   accounts.

 2               m.    Defendant SOMARRIBA and co-conspirators would monitor

 3   the receipt and execution of interstate and international wire

 4   transfers of victim funds, including to Bahamas Account #1.

 5               n.    Defendant SOMARRIBA and other co-conspirators would

 6   monitor the conversion of victim funds to USDT and the subsequent

 7   distribution of virtual currency to cryptocurrency wallets.

 8               o.    Defendant SOMARRIBA and co-conspirators would direct

 9   the conversion of nearly all of the funds into USDT and the

10   subsequent transfer of cryptocurrency to the TRteo Address.

11               p.    Defendant SOMARRIBA would receive a commission for the

12   transfer of victim funds to USDT and would distribute ledgers

13   detailing the profit-sharing arrangement.

14               q.    Defendant SOMARRIBA and other co-conspirators would

15   possess fraudulent “Know Your Customer” (“KYC”) documents associated

16   with these wire transfers.

17               r.    Co-conspirators would cause wire transfers to be sent

18   through various intermediary bank accounts before reaching their

19   final beneficiary.

20               s.    Defendant SOMARRIBA would receive victim funds in

21   financial accounts he directly controlled.

22               t.    Defendant SOMARRIBA and other co-conspirators would

23   communicate with each other and coordinate acts in furtherance of the

24   conspiracy through encrypted messaging services.

25   E.   OVERT ACTS

26        22.    In furtherance of the conspiracy and to accomplish its
27   object, defendant SOMARRIBA, Co-Conspirators 1, 2, and 3, and others
28   known and unknown, on or about the dates set forth below, committed

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 1   and caused to be committed various overt acts, in the Central

 2   District of California and elsewhere, including, but not limited to,

 3   the following:

 4           Overt Act No. 1:       On November 30, 2021, defendant SOMARRIBA,

 5   Co-Conspirator 1, and other co-conspirators established the Bahamian
 6   entity Axis Digital.
 7           Overt Act No. 2:       On February 9, 2022, defendant SOMARRIBA
 8   corresponded with a Deltec Bank employee concerning the account
 9   opening forms for Bahamas Account #1.
10           Overt Act No. 3:       On June 15, 2022, defendant SOMARRIBA sent
11   Deltec Bank a screenshot of a cryptocurrency account held by
12   defendant SOMARRIBA to demonstrate proof of funds for the opening of
13   Bahamas Account #1.
14           Overt Act No. 4:       On July 6, 2022, defendant SOMARRIBA
15   traveled to Phnom Penh, Cambodia, to meet with co-conspirators
16   regarding the operation of Bahamas Account #1 and the transfer of
17   USDT to the TRTeo Address.
18           Overt Act No. 5:       On August 5, 2022, defendant SOMARRIBA
19   corresponded with Deltec Bank employees on an encrypted messaging
20   platform and directed that for future transactions funds from Bahamas
21   Account #1 should be converted to USDT and transferred to the TRteo
22   Address.
23           Overt Act No. 6:       On September 13, 2022, defendant SOMARRIBA
24   sent Co-Conspirator 1 a blank Digital Transaction Agreement to use as
25   a contract template for shell companies to exchange U.S. dollars into
26   USDT.
27   //
28   //

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 1        Overt Act No. 7:        On September 15, 2022, defendant SOMARRIBA

 2   sent Deltec Bank a purportedly executed and signed Digital
 3   Transaction Agreement for the exchange of U.S. dollars into USDT to
 4   be transferred to the TRteo Address.
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 1                                FORFEITURE ALLEGATION

 2                                  [18 U.S.C. § 982]

 3           1.   Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4    Procedure, notice is hereby given that the United States of America

 5    will seek forfeiture as part of any sentence, pursuant to Title 18,

 6    United States Code, Section 982(a)(2), in the event of defendant’s

 7    conviction of the offense set forth in this Information.

 8           2.   Defendant, if so convicted, shall forfeit to the United

 9    States of America the following:

10                (a) All right, title and interest in any and all property,

11    real or personal, constituting, or derived from, any proceeds

12    obtained, directly or indirectly, as a result of the offense; and

13                (b) To the extent such property is not available for

14    forfeiture, a sum of money equal to the total value of the property

15    described in subparagraph (a).

16           3. Pursuant to Title 21, United States Code, Section 853(p), as

17    incorporated by Title 18, United States Code, Section 982(b),

18    defendant, if so convicted, shall forfeit substitute property, up to

19    the total value of the property described in the preceding paragraph

20    if, as the result of any act or omission of said defendant, the

21    property described in the preceding paragraph, or any portion

22    thereof: (a) cannot be located upon the exercise of due diligence;

23    (b) has been transferred, sold to or deposited with a third party;

24    (c) has been placed beyond the jurisdiction of the court; (d) has

25    been

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 1    substantially diminished in value; or (e) has been commingled with

 2    other property that cannot be divided without difficulty.

 3                                          JOSEPH T. MCNALLY
                                            Acting United States Attorney
 4

 5

 6
                                            DAVID T. RYAN
 7                                          Assistant United States Attorney
                                            Chief, National Security Division
 8
                                            KHALDOUN SHOBAKI
 9                                          Assistant United States Attorney
                                            Chief, Cyber & Intellectual Property
10                                          Crimes Section
11                                          MAXWELL COLL
                                            ALEXANDER S. GORIN
12                                          Assistant United States Attorneys
                                            Cyber & Intellectual Property Crimes
13                                          Section
14                                          NISHA CHANDRAN
                                            Assistant United States Attorney
15                                          Corporate and Securities Strike
                                            Force
16
                                            STEFANIE SCHWARTZ
17                                          TAMARA LIVSHIZ
                                            Trial Attorneys
18                                          National Cryptocurrency Enforcement
                                            Team
19                                          Computer Crime & Intellectual
                                            Property Section
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